Case 5:19-cv-00871-JGB-KK Document 6 Filed 05/09/19 Page 1 of 2 Page ID #:461




 1
     David Hirson (California Bar #91507)
     Evelyn Hahn (California Bar # 285846)
 2   Megan Guzman (California Bar #316716)
 3   mguzman@hirson.com
     David Hirson and Partners, LLP
 4   1122 Bristol Street, Floor 1
 5   Costa Mesa, CA 92626
     Telephone: (949) 383-5358
 6   Facsimile: (949) 383-5368
 7   Attorneys for Plaintiff

 8
 9
                                 UNITED STATES DISTRICT COURT
10
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

12
     MONSTER ENERGY CO. &                            Case No.: 5:19-cv-00871
13 Mohita YALAMANCHI,

14                                                   PLAINTIFFS’ EX PARTE
                                       Plaintiffs,   APPLICATION FOR TEMPORARY
15                                                   RESTRAINING ORDER AND
             vs.                                     ORDER TO SHOW CAUSE WHY A
16
                                                     PRELIMINARY INJUNCTION
17 Kathy A. BARAN, in her Official                   SHOULD NOT ISSUE
     Capacity, Director of the California
18 Service Center, U.S. Citizenship and

19 Immigration Services, U.S. Department of          Immigration Case, Administrative
     Homeland Security;
20                                                   Procedure Act Case
   L. Francis CISSNA, in his Official
21
   Capacity, Director, U.S. Citizenship and
22 Immigration Services, U.S. Department of
   Homeland Security; and
23

24 Kevin M. MCALEENAN, in his Official
     Capacity, Acting Secretary, U.S.
25 Department of Homeland Security

26

27                                 Defendants.
28
     Ex Parte Application for TRO/PI                                    Case No. 5:19-cv-00871
Case 5:19-cv-00871-JGB-KK Document 6 Filed 05/09/19 Page 2 of 2 Page ID #:462




 1           In accordance with Rule 65(b) of the Federal Rules of Civil Procedure and Local
 2 Rule 65-1, Plaintiffs move this Court for an order compelling the Defendants,

 3 Department of Homeland Security (“DHS”) and United States Citizenship and

 4 Immigration Services (“USCIS”), to postpone the effectiveness of the denial of

 5 Petitioner’s, Monster Energy Co., Petition for Nonimmigrant Worker (Form I-129),

 6 otherwise known as an H-1B Petition, filed on behalf of their employee, Ms. Mohita

 7 Yalamanchi, as well as the concurrent request for extension of status. Plaintiffs request

 8 that the postponement be applied retroactively to the date of the denial – April 1, 2019.
 9           In support of this motion, please review the reasons outlined in the
10 accompanying memorandum of points and authorities. This motion is supported by the

11 attached Declaration of Evelyn Hahn in Support of Ex Parte Motion for Temporary

12 Restraining Order and Motion for Preliminary Injunction and the attached Exhibits that

13 reflect the Administrative Record in the case before USCIS. As set forth in Plaintiffs’

14 Points and Authorities in support of this Motion, Plaintiffs raise that it merits both a

15 temporary restraining order and a preliminary injunction.

16

17 WHEREFORE, Plaintiffs pray that this Court grant its request for a temporary

18 restraining order and a preliminary injunction compelling USCIS to postpone the

19 effectiveness of the denial of Plaintiff’s Form I-129 filed on behalf of Ms. Mohita

20 Yalamanchi and the concurrent application for extension of status, and that the stay

21 apply retroactively to the April 1, 2019.

22 Dated: May 8, 2019                                    Respectfully submitted,
23                                                       s/ Megan Guzman
24                                                       Megan Guzman
25                                                       David Hirson
26                                                       Evelyn Hahn
27                                                       Attorneys for Plaintiffs
28
     Ex Parte Application for TRO/PI                                    Case No. 5:19-cv-00871
